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               EXHIBIT E
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                                                                           EXHIBIT E

                                  DEFENDANT HTC CORPORATION’S UPDATED TRIAL EXHIBIT LIST

        SALAZAR’S
DX NO                 EXHIBIT DESCRIPTION                                                    BEGINNING BATES NUMBER      ENDING BATES NUMBER       CONF   CAT
        OBJECTIONS
DX001                 U.S. Patent No. 5,802,467                                              SALAZAR- 496               SALAZAR- 521                      A
DX002                 File History for U.S. Patent No. 5,802,467                             SALAZAR- 001               SALAZAR- 495                      A
DX003   R             U.S. Patent No. 5,537,608 ("Beatty")                                   HTC039243                  HTC039258                         A
DX004   R             U.S. Patent No. 5,179,680 ("Colwell")                                  HTC026211                  HTC026245                         A
DX005   R             U.S. Patent No. 5,410,326 ("Goldstein")                                HTC026246                  HTC026290                         A
DX006   R             U.S. Patent No. 5,465,401 ("Thompson")                                 HTC026291                  HTC026310                         A
DX007   R             U.S. Patent No. 4,623,887 ("Welles")                                   HTC038568                  HTC038592                         A
DX008   R             U.S. Patent No. 4,802,114 ("Sogame")                                   HTC039235                  HTC039242                         A
DX009   R             U.S. Patent No. 4,866,434 ("Keenan")                                   HTC038593                  HTC038603                         A
DX010   R             U.S. Patent No. 4,918,439 ("Wozniak")                                  HTC038604                  HTC038791                         A
DX011   R             U.S. Patent No. 5,138,649 ("Krisbergh")                                Legible copy of SALAZAR-   Legible copy of SALAZAR-          A
                                                                                             268                        278
DX012   H, A, BE, R   "IBM Simon." Wikipedia,                                                HTC039190                  HTC039193                         A
                      https://en.wikipedia.org/w/index.php?title=IBM_Simon&oldid=81240
                      6507.
DX013   H, A, BE, R   "Simonizing the PDA." Byte.com, Dec. 1994, https://archive.is/F5d06.   HTC039186                  HTC039189                         A
DX014   H, A, R       IBM Simon User's Manual, 1994                                          HTC039194                  HTC039234                         A
DX015                 Molero-Castro, L., Description of Variables, Innovative Intelcom       SALAZAR-                   SALAZAR-                   CONF   B
                      Industries, January 10, 1995 [Salazar depo Ex. 2]                      CONFIDENTIAL- 587          CONFIDENTIAL- 595
DX016                 Disclosure Agreement Between L. Molero-Castro and J. Salazar dated     SALAZAR-                   SALAZAR-                   CONF   B
                      May 25, 1993 [Salazar depo Ex. 3]                                      CONFIDENTIAL- 578          CONFIDENTIAL-578


                                                                                  1                                                 A = Expect to Offer
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        SALAZAR’S
DX NO                EXHIBIT DESCRIPTION                                                   BEGINNING BATES NUMBER    ENDING BATES NUMBER       CONF   CAT
        OBJECTIONS
DX017                Contract Between L. Molero-Castro and J. Salazar dated July 2, 1993   SALAZAR-                 SALAZAR-                   CONF   B
                     [Salazar depo Ex. 4]                                                  CONFIDENTIAL- 596        CONFIDENTIAL- 598
DX018   H, R, O      Letter from J. Dimatteo to C. Spencer Requesting Prior Art Search     SALAZAR-                 SALAZAR-                   CONF   A
                     dated January 6, 1995 [Salazar depo Ex. 5]                            CONFIDENTIAL- 575        CONFIDENTIAL- 576
DX019   H, R         Letter from J. Salazar to D. Moloney/Motorola Broadband               SALAZAR-                 SALAZAR-                   CONF   A
                     Communications Sector Regarding Patent License Agreement 1023         CONFIDENTIAL- 577        CONFIDENTIAL- 577
                     dated July 30, 2006 [Salazar depo Ex. 8]
DX020   R            Asset Assignment and Debt Satisfaction Agreement Between              SALAZAR-                 SALAZAR-                   CONF   A
                     Innovative Intelcom Industries and Salazar dated December 14, 2006    CONFIDENTIAL- 559        CONFIDENTIAL- 559
                     [Salazar depo Ex. 9]
DX021   H, R         Draft of Letter from R. Eisert to S. Meyers/General Instrument        SALAZAR-                 SALAZAR-                   CONF   A
                     Corporation Regarding Exclusive License Under U.S. Patent No.         CONFIDENTIAL- 574        CONFIDENTIAL- 574
                     5,138,649 dated March 3, 1995 [Salazar depo Ex. 10]
DX022   H, R         Innovative Intelcom Industries Annual Meeting of Shareholders         SALAZAR-                 SALAZAR-                   CONF   A
                     Presentation dated May 26, 1995 [Salazar depo Ex. 11]                 CONFIDENTIAL- 611        CONFIDENTIAL- 616
DX023   R            U.S. Patent Pub. No. 2005/0054289 A1 (“Salazar ’489”) [Meyers         HTC038550                HTC038567                         A
                     depo Ex. 14]
DX024   R            Declaration and Power of Attorney of J. Salazar, L. Molero-Castro,    NONE                     NONE                              A
                     and R. Meyers for Provisional Patent Application 10/656633 dated
                     August 2003 [Meyers depo Ex. 15]
DX025                U.S. Patent No. 5,802,467                                             Legible copy of          Legible copy of                   A
                                                                                           SALAZAR- 496             SALAZAR- 521
DX026   H, A, R      Qualcomm Snapdragon 600 Processor APQ8064 Data Sheet at 19,           NONE                     NONE                              A
                     available online at
                     https://www.qualcomm.com/documents/snapdragon-600-apq-8064-
                     data-sheet [Wolfe’s Rebuttal Noninfringement Report]
DX027   H, A, R      Qualcomm Snapdragon 810 Processor Product Brief, available online     NONE                     NONE                              B
                     at https://www.qualcomm.com/media/documents/files/snapdragpn-
                     810-processor-product-brief [Wolfe’s Rebuttal Noninfringement
                     Report]


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        SALAZAR’S
DX NO                 EXHIBIT DESCRIPTION                                                   BEGINNING BATES NUMBER    ENDING BATES NUMBER        CONF   CAT
        OBJECTIONS
DX028   H, A, BE, R   AnandTech, "Qualcomm's Snapdragon 801 (MSM8974AC): The New            NONE                     NONE                               B
                      32-bit Flagship Until 805," (Feb. 24, 2014), available online at
                      http://www.anandtech.com/show/7783/qualcomms-snapdragon-801-
                      msm8974ac-the-new032bit-flagship-until-805 [Wolfe’s Rebuttal
                      Noninfringement Report]
DX029   H, A, R       Qualcomm Snapdragon 801 Processor Product Brief, available online     NONE                     NONE                               B
                      at https://www.qualcomm.com/media/documents/files/snapdragon-
                      801-processor-product-brieg [Wolfe’s Rebuttal Noninfringement
                      Report]
DX030   H, A, R       BCM4330 Datasheet, available online at                                NONE                     NONE                               A
                      http://www.datasheetq.com/datasheet-
                      download/713750/1/Broadcom/BCM4330?lang=en [Wolfe’s Rebuttal
                      Noninfringement Report]
DX031   H, A, BE, R   BCM43353 Datasheet, available online at                               NONE                     NONE                               A
                      http://pdf1.alldatasheet.com/datasheetpdf/view/828933/CYPRESS/BC
                      M43353.html [Wolfe’s Rebuttal Noninfringement Report]
DX032   H, A, BE, R   PN544 datasheet, available online at                                  NONE                     NONE                               A
                      http://www.datasheet4u.com/datasheet-
                      pdf/NXPSemiconductors/PN544/pdf.php?id=706823 [Wolfe’s
                      Rebuttal Noninfringement Report]
DX033   R             HTC-SC0005-63 (HtcIrInterfaceCpp) [Wolfe’s Rebuttal                   HTC-SC0005               HTC-SC0063                  CONF   B
                      Noninfringement Report]
DX034   H, A, BE, R   http://peel.freshdesk.com/support/solutions/articles/19000008374-i-   NONE                     NONE                               B
                      can-t-find-my-tv-from-the-list-provided-
                      [Wolfe’s Rebuttal Noninfringement Report]
DX035                 International Distributor Agreement [Lai depo Ex 2]                   HTC037528                HTC037547                   CONF   A
DX036   R, 403, C     HTC America, Inc. Invoice, June 17, 2013 [Lai depo Ex 2]              HTC037608                HTC037608                   CONF   A
DX037   R, 403, C     HTC America, Inc. Invoice, August 16, 2014 [Lai depo Ex 2]            HTC037609                HTC037609                   CONF   A
DX038   R, 403, C     HTC America, Inc. Invoice, March 21, 2014 [Lai depo Ex 2]             HTC037610                HTC037610                   CONF   A



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        SALAZAR’S
DX NO                EXHIBIT DESCRIPTION                                             BEGINNING BATES NUMBER    ENDING BATES NUMBER       CONF   CAT
        OBJECTIONS
DX039   R, 403, C    HTC America, Inc. Invoice, April 3, 2015 [Lai depo Ex 2]        HTC037611                HTC037611                  CONF   A
DX040   R, 403, C    HTC America, Inc. Invoice, March 28, 2013 [Lai depo Ex 2]       HTC037612                HTC037612                  CONF   A
DX041   R, 403, C    HTC America, Inc. Invoice, March 30, 2013 [Lai depo Ex 2]       HTC037613                HTC037613                  CONF   A
DX042   R, 403, C    HTC America, Inc. Invoice, April 16, 2013                       HTC037614                HTC037614                  CONF   B
DX043   R, 403, C    HTC America, Inc. Invoice, March 3, 2015                        HTC037615                HTC037615                  CONF   B
DX044   R, 403, C    HTC America, Inc. Invoice, March 14, 2014                       HTC037616                HTC037616                  CONF   B
DX045   R, 403, C    HTC America, Inc. Invoice, March 22, 2014                       HTC037617                HTC037617                  CONF   B
DX046   R, 403, C    HTC America, Inc. Invoice, October 31, 2014                     HTC037618                HTC037618                  CONF   B
DX047   R, 403, C    HTC America, Inc. Invoice, October 31, 2014                     HTC037619                HTC037619                  CONF   B
DX048   R, 403, C    HTC America, Inc. Invoice, March 21, 2015                       HTC037620                HTC037620                  CONF   B
DX049   R, 403, C    HTC America, Inc. Invoice, March 18, 2015                       HTC037621                HTC037621                  CONF   B
DX050   R, 403, C    HTC America, Inc. Invoice, March 24, 2015                       HTC037622                HTC037622                  CONF   B
DX051                Master Purchase Agreement (MPA) between Sprint and HTC Corp.,   HTC038162                HTC038278                  CONF   A
                     May 19, 2008
DX052                Amendment 6 to MPA between Sprint and HTC Corp., June 9, 2010   HTC038279                HTC038280                  CONF   A
DX053   H, A, R, C   HTC One (M8) for Windows User Guide                             HTC000396                HTC000508                         B
DX054   H, A, R, C   HTC One (M8) for Windows Verizon User Guide                     HTC000511                HTC000693                         B
DX055   H, A, R, C   HTC One (M8) User Guide                                         HTC001165                HTC001358                         B
DX056   H, A, R, C   HTC One (M8) Verizon User Guide                                 HTC001557                HTC001872                         B
DX057   H, A, R, C   HTC One (M9) User Guide                                         HTC001873                HTC002081                         B
DX058   H, A, R, C   HTC One (M9) Sprint User Guide                                  HTC002490                HTC002796                         B
DX059   H, A, R, C   HTC One (M9) Verizon User Guide                                 HTC003226                HTC003546                         B
DX060   H, A, R, C   HTC One User Guide                                              HTC003734                HTC003914                         B



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        SALAZAR’S
DX NO                 EXHIBIT DESCRIPTION                                              BEGINNING BATES NUMBER    ENDING BATES NUMBER       CONF   CAT
        OBJECTIONS
DX061   H, A, R, C    HTC One Sprint User Guide                                        HTC003915                HTC004151                         B
DX062   H, A, R, C    HTC One User Guide                                               HTC004154                HTC004339                         B
DX063   H, A, R, C    HTC One Verizon User Guide                                       HTC004529                HTC004820                         B
DX064   H, A, R       IR Remote Functional Specification for Sense 5.0, December 19,   HTC004821                HTC004876                  CONF   A
                      2012
DX065   H, A, R       HTC Gesture Remote, Sense 5.0, December 17, 2012                 HTC004891                HTC004932                  CONF   A
DX066   H, A, R       MaxQ614 Datasheet, September 2012                                HTC011331                HTC011358                         A
DX067   H, A, R       M7 Schematics, July 13, 2012                                     HTC016840                HTC016853                  CONF   A
DX068   H, A, R       M7 Schematics, January 11, 2013                                  HTC020813                HTC020872                  CONF   A
DX069   H, A, R       M8 Schematics, January 17, 2014                                  HTC024869                HTC024933                  CONF   A
DX070   H, A, R       W8 Logic Specification, revised July 30, 2014                    HTC026864                HTC026904                  CONF   A
DX071   H, A, R       W8 Schematics, July 30, 2014                                     HTC027441                HTC027506                  CONF   A
DX072   H, A, R       W8 VZW Feature Sheet, July 31, 2014                              HTC027752                HTC027758                  CONF   A
DX073   H, A, R       W8 Product Requirements, April 9, 2014                           HTC027759                HTC027812                  CONF   A
DX074   H, A, R       M9 VZW Feature Sheet, August 19, 2014                            HTC029080                HTC029087                  CONF   A
DX075   H, A, R       M9 Schematics, January 16, 2015                                  HTC037548                HTC037599                  CONF   A
DX076   H, A, R       M9 Block Diagram, November 7, 2014                               HTC038817                HTC038817                  CONF   A
DX077   H, A, R       Sense 5 Application Brief V1.3f, February 7, 2013                HTC029830                HTC030052                  CONF   A
DX078   H, A, R       M7 Merchandising Proposal, April 16, 2013                        HTC030269                HTC030309                  CONF   B
DX079   H, A, R, BE   HTC One - One Pager, May 22, 2013                                HTC030669                HTC030670                         B
DX080   H, A, R, BE   HTC One Retail Store Training – HTC One Global Speaker Notes,    HTC031026                HTC031082                  CONF   B
                      June 11, 2013
DX081   H, A, R, BE   Gartner - Forecast Analysis: Mobile Phone Production and         HTC031912                HTC031937                  CONF   B
                      Semiconductors, Worldwide, 2Q13 Update, July 16, 2013


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        SALAZAR’S
DX NO                 EXHIBIT DESCRIPTION                                                BEGINNING BATES NUMBER    ENDING BATES NUMBER       CONF   CAT
        OBJECTIONS
DX082   H, A, R, BE   HTC Brand Tracking Research                                        HTC032361                HTC032428                  CONF   B
                      United States Report – H1 2013
DX083   H, A, R, BE   Gartner – Hype Cycle for Consumer Services and Mobile              HTC032690                HTC032783                  CONF   B
                      Applications, July 31, 2013
DX084   H, A, R, BE   Gartner – Market Trends: Production of Smartphones by EMS          HTC032990                HTC033002                  CONF   B
                      Companies and ODMs, Worldwide, 2013, September 20, 2013
DX085   H, A, R, BE   Gartner – Forecast Analysis: Devices, Worldwide, 3Q13 Update,      HTC033159                HTC033172                  CONF   B
                      October 9, 2013
DX086   H, A, R, BE   Gartner – Forecast Analysis: Consumer Electronics Semiconductor    HTC033173                HTC033215                  CONF   B
                      Revenue and Unit Production, Worldwide, 3Q13 Update, October 10,
                      2013
DX087   H, A, R, BE   M8 Training Deck – The all new HTC One (M8), March 3, 2014         HTC034005                HTC034081                  CONF   B
DX088   H, A, R, BE   HTC One M8 – One Pager, March 4, 2014                              HTC034082                HTC034083                  CONF   B
DX089   H, A, R, BE   HTC USA Consumer Market Report – Data to Q1 2014 – Kantar          HTC034496                HTC034570                  CONF   B
                      World Panel, May 9, 2014
DX090   H, A, R, BE   HTC USA Consumer Market Report – Data to Q2 2014 – Kantar          HTC035096                HTC035167                  CONF   B
                      World Panel, August 13, 2014
DX091   H, A, R, BE   W8 Poster 22x28, August 13, 2014                                   HTC035172                HTC035172                         B
DX092   H, A, R, BE   HTC M9 v. G4 - One Pager, July 14, 2015                            HTC036655                HTC036656                         B
DX093   H, A, R, BE   HTC US Consumer Market Report Q3 2015 – Kantar World Panel,        HTC036657                HTC036723                  CONF   B
                      October 20, 2015
DX094                 Plaintiff Joe Andrew Salazar’s Second Amended Responses and        NONE                     NONE                              B
                      Objections to Defendant HTC Corporation’s First Set of
                      Interrogatories (Nos. 1-12), served September 7, 2017
DX095                 Subpoena to Peel Technologies, Inc. with Exhibit A                 NONE                     NONE                              B
                      [Muthukumarasamy 1/8/18 Deposition, Exhibit 1]
DX096                 http://getpronto.com/en (reference in Blok report)                 NONE                     NONE                              A



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        SALAZAR’S
DX NO                EXHIBIT DESCRIPTION                                      BEGINNING BATES NUMBER    ENDING BATES NUMBER        CONF   CAT
        OBJECTIONS
DX097                HTC IR Component Costs                                   HTC038161                HTC038161                   CONF   A


                                                    SALAZAR’S OBJECTION KEY

                              ABBREVIATIONS FOR SALAZAR’S OBJECTIONS TO HTC’S EXHIBIT LIST
                        R = Lacks Relevance (FRE 401/402)          MIL = Subject to motion in limine
                        H = Hearsay (FRE 802)                      A = Lacks authentication (FRE 901)
                        O = Improper Opinion (FRE 701/702)         NT = contains text in a foreign language that
                                                                   is not translated into English
                        F = Lacks Foundation/Speculative (FRE 602) 26(a) = Exhibit inadmissible during expert
                                                                   testimony where expert did not disclose
                                                                   document in deposition or expert report
                                                                   served pursuant to Fed. R Civ. P 26(a)(2)(B)
                        V = Vague/Ambiguous                        I = Improper/Incomplete Document
                        P = Protected by Privilege                 S = Speculation
                        408 = Settlement (FRE 408)                 403 = Unduly prejudicial/confusion/waste of
                                                                   time/misleading (FRE 403)
                        LC = Legal Conclusion                      AF = Assumes facts not in evidence
                        C or D = Cumulative/Duplicated Exhibit     M = contains more than one documents or is
                                                                   an improper collection of documents
                        BE = Best Evidence (FRE 1001-1008)         703 = relied upon by expert, but otherwise
                                                                   inadmissible (FRE 703)
                        ILL = Illegible                            U = Untimely (e.g., not produced in discovery)
                        ID = Incorrect Description




                                                                    7                                               A = Expect to Offer
                                                                                                                        B = May Offer
